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                   8
                   9                                 UNITED STATES DISTRICT COURT
                  10                             CENTRAL DISTRICT OF CALIFORMA
                  11                                      EASTERN DIVISION
                  12 CARTER BRYANT, an individual,                 CASE NO. CV 04-9049 SGL (RNBx}
                  13                    Plaintiff,                 Consolidated with Case Nos. CV 04-09059
                                                                   and CV OS-02727
                  14          vs.
                                                                   DISCOVERY MATTER
                  15 MATTEL, INC., a Delaware                        o e ear     y iscovery Master Hon.
                       f corporation,                               dward infante (Ret.)]
                  16
                                        Defendant.                 MATTEL, INC.'S NOTICE OF MOTION
                  17                                               AND MOTION TO COMPEL STERN &
                                                                   GOLDBERG TO PRODUCE
                  18 AND CONSOLIDATED ACTIONS                      DOCUMENTS; AND
                  19                                               MEMORANDUM OF POINTS AND
                                                                   AUTHORITIES
                  20
                                                                   [Declaration of Juan Pablo Alban filed
                  21                                               concurrently herewith
                  22                                               Hearing Date:      Januaxy 4, 2008
                                                                   Time:              9:30 a.m.
                  23                                               Place:             TBA
                  24                                               Phase I
                                                                   Discovery Cut-Off: January 28, 2008
                  25                                               Pre-Trial Conference: May 5, 2008
                                                                   Trial Date:           May 27, 2008
                  26
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                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2               PLEASE TAKE NOTICE that at a hearing before Discovery Master
                   3 Han. Edward Infante (Ret.) that will occur on January 4, 2008 at 9:30 a.m. at a place
                   4 to be determined by Judge Infante, plaintiff Mattel, Inc. ("Mattel") will, and hereby
                   5 does, move the Court for an order compelling Stern & Goldberg to produce
                   6 ' documents responsive to Mattel's Subpoena dated August 31, 2007, including
                   7 ^ Request Nos. 1-24, 27, 29, 33 and 34.
                   8               This Motion is made pursuant to Federal Rules of Civil Procedure 37
                   9 and 45 on the grounds that Mattel's Requests seek relevant information and there is
                  1a good cause of its production and that the Discovery Master has already ruled that the
                  11   information sought by Mattel here is relevant and discoverable. The Discovery
                  12 Master has jurisdiction to hear this motion pursuant to sections 5 and 15 of the
                  13 Stipulation and Order for Appointment of a Discovery Master.
                  14               This Motion is based on this Notice of Motion and Motion, the
                  15 accompanying Memorandum of Points and Authorities, the Declaration of Juan
                  16 Pablo Alban f led concurrently, the records and files of this Court, and all other
                  17 matters of which the Court may take judicial notice.
                  18                   Certificate Of Compliance With Local Rule 37-1
                  19               Mattel, Inc. and Stern & Goldberg met and conferred regarding Mattel's
                  20 document requests and Stern's objections thereto on October 11, 2007, and were
                  21 unable to reach agreement on the any of the Requests set forth above.
                  22
                  23 DATED : December 6, 2007             QQ UINN EMANUEL URQUHART OLIVER &
                                                          I-SEDGES, LLP
                  24
                                                                  ^•
                  25                                       gy    J^^ ^o^^^
                  26                                          J D. Corey     '
                                                             Attorneys for Mattel, Inc.
                  27
                  28
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                                                           MATTEL, INC.'S MOTION TO COMPEL STERN & GOLDBERG
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                    1                                 Preliminary Sfatemen^
                   2                 Mattel seeks discoverable, highly relevant information from Stern &
                   3 Goldberg ("Stern") that it refuses to produce. Farhad Larian was a co-founder of
                   4 ^I MGA and is a former MGA executive and shareholder. In December 2000, Farhad
                   5 Larian sold his forty-five percent interest in defendant MGA Entertainment, Inc, to
                   6 II his brother, defendant Isaac Larian. Their uncle Morad Zarabi determined the
                   7 purchase price of Farhad Larian's interest. Stern & Goldberg ("Stern") represented
                   S Mr. Zarabi and drafted the relevant sale documents. Farhad Larian alleged that, in
                   9 the Summer of 2002, he discovered that Isaac Larian had fraudulently induced him
                  la into selling the stock. Specif tally, Farhad Larian alleged that in late 1999 or early
                  11    2000, Isaac Larian chose "Bratz" as a fashion doll that could compete with Barbie,
                  12 Larian developed and planned the release of Bratz throughout 2000, and Larian
                  13 concealed Bratz from Farhad Larian in order pay Farhad Larian an artificially low
                  I4 price for his stock. Unable to resolve his complaints through Mr. Zarabi, Farhad
                  15 Larian sued Isaac Larian and, eventually, Mr. Zarabi as well. Stern continued to
                  16 ^ represent Mr. Zarabi at least into the Summer of 2004.
                  17                Facts and evidence from Farhad Larian's disputes with Isaac Larian are
                  18 unquestionably relevant to this suit. Farhad Larian's allegations about Bratz's
                  19 design and development in late 1999 and throughout 2000-during which times
                  20 Carter Bryant was employed by Mattel-overlap with central issues in this action.
                  21    Indeed, in a prior Order, the Discovery Master so found that information from the
                  22 Larian y. Larian disputes was relevant and discoverable.
                  23                Mattel has searched public filings in the Larian v. Larian proceedings
                  24 for relevant documents. Mattel has also sought documents from MGA, Isaac Larian
                  25 and other third parties involved in the Larian v. Larian proceedings. A few third
                  26 parties have complied with their obligations under Federal Rule of Civil Procedure
                  27 45 and produced relevant documents. Stern has not and refuses to produce key
                  28 documents in response to Mattel's Requests. Nor have been produced by MGA
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                       despite a prior Court Order compelling MGA to do so, or by Isaac Larian. Indeed,
                   2 flouting the DISCOVery Master's Order of May 15, 2007, MGA has produced just
                   3        documents related to the Larian v. Larian proceedings. For his part, Isaac
                   4 Larian has not produced a single responsive document on that-or any other
                   5 subject in this litigation.
                   6                Furthermore, the facts and evidence relating to Farhad Larian's disputes
                   7 are centrally relevant to damages issues in this case. For example, Mattel has been
                   8 unable to obtain-and knows Stern posseses-"raw data" on which Ernest Dutcher,
                   9 Mr. Zarabi's appraiser, based an appraisal of MGA "through December 2000." That
                  10 appraisal accounted for unidentif ed "hot products" that justified atwenty-five
                  11   percent (25%^ revenue growth projection for 2001. The "raw data" Stern possesses
                  12 likely includes financial models with 2000 forecasts of revenue streams for each
                  13 item MGA sold or was planning to sell-models Farhad Larian represented Isaac
                  14 Larian created "regularly." Stern may be the only third party with some of these key
                  15 documents because Mr. Zarabi resisted producing. documents to Farhad Larian for
                  16 the appraisal that accounted for the year 2000. Not only does such information bear
                  171 on the timing of Bratz's creation and development and when Bryant introduced
                  18 Bratz to MGA, but the appraisals relating to the value of MGA are directly relevant
                  19 to issues such as MGA's revenues from Bratz and MGA's net worth, which the
                  20 District Court and the Discovery Master both have held is relevant to punitive
                  21   damages. Stern also likely possesses, but refuses to produce, Mr. Zarabi's
                  22 observations in responding to Farhad Larian's allegations about the concealment and
                  23 development of Bratz in 2000. Stern bases this withholding on an "arbitral
                  24 privilege" that does not apply to this case. Even if it did apply, Mr. Zarabi long-ago
                  25 ^ waived it by producing thousands of pages of purportedly privileged documents to
                  26 Isaac and Farhad Larian-the very people who the privilege is intended to block
                  27 from receiving Mr. Zarabi's documents.
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                          MATTEL, INC.'S NOTICE OF MOTION AND MOTION TO COMPEL STERN & GOLDBERG TO PRODUCE
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                       1             The Discovery Master should grant Mattel' s motion and compel Stern
                    2 its responsive documents without further delay.
                    3                                      Background
                    4                Mattel has set forth the Background of the Larian v. Larian proceedings
                    S and the Discovery Master's prior rulings on the relevance of these proceedings in its
                    6 motion to compel Farhad Larian to produce documents, dated December 6, 2007.
                    7 To avoid unnecessary redundancy, Mattel respectfully directs the Discovery
                    8 Master's attention to that motion for additional background, which Mattel hereby
                   9 incorporates by reference. Background relating to Stern more specifically is set
                   10 forth below.
                  11          A.     Morad Zarbi 's Role In The Larian v Larian Proceedings.
                  12                 Mr. Zarabi responded to Farhad Larian's Summer of 2002 allegations
                  13 regarding the timing of the conception and development of Bratz. However, once
                  14 the California Court of Appeals compelled arbitration of the allegations, Mr. Zarabi
                  15 declined to arbitrate the dispute after Farhad Larian's attorneys requested that Mr.
                  16 Zarabi disqualify himself. ^ Mr. Zarabi did not reach any conclusions before
                  17' removing himself, despite Isaac Larian's attempt to have Mr. Zarabi sign an
                  18 arbitration award in his favor, which Isaac Larian's attorneys prepared.2 To the
                  19 contrary, Mr. Zarabi may have suggested to Isaac Larian that he compensate Farhad
                  20 Larian to settle the allegations regarding Bratz.3 On February 28, 2005, Farhad
                  21 Larian also brought suit against Mr. Zarabi alleging the same facts regarding the
                  22 origins and concealment of Bratz, adding Mr. Zarabi as a conspirator.4
                  23
                  24    ' Id., Exhs. 11 {Ltr. from Zarabi to I. Larian, F. Larian, dated Feb. 8, 2005}; 54
                  25 (Ltr.
                        2
                           from Kremer to Zarabi dated Nov. 10, 2004).
                           Exhs. 67 (Ltr. from Klevens to Stern dated Sept. 25, 2003}; 68 {Ltr. from Stern
                  26 to Klevens dated Sept. 25, 2003)
                        3
                  27       Id., Exh. 53 at ¶ 25 {Feb. 7, 2004 F. Larian Dec.).
                        a Id., Exh. 16 (Larian v. Zarabi et al. Complaint}.
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                  1               Before withdrawing himself as an arbitrator, Mr. Zarabi produced
                  2 thousands of pages of documents to Isaac and Farhad Larian, including "raw data"
                  3 (e.g_, MGA financial statements for 2000 and 2001} that Mr. Dutcher used to value
                  4 MGA and Mr. Zarabi's "confidential,reconciliations."5 Mr. Zarabi continued to
                  5 withhold some--but not all----documents from his "2003 proceedings."^ The 2003
                  6 proceedings refer to Mr. Zarabi's response to Farhad Larian' s Bratz allegations,
                  7 including supervising the appraisal of MGA valuing the company "as of December
                  8 31, 2000."^
                  9         B.     Stern Asserted Virtually Ydentical Objections to Every One of
                 10               Mattel ' s Requests And Refused to Produce A Single Document.
                 11               Mattel subpoenaed Stern to produce documents on September 6, 2007.$
                 12 ^ The majority of Mattel' s requests seek documents related to the Larian v. Larian
                 13 disputes and/or issues in common between this action and those disputes.g Other
                 14 requests seek documents related to non-Bratz trade secret allegations by Mattel and
                 1S MGA,' ° Farhad Larian's relationship to MGA," documents related to Farhad
                 16 Larian's involvement in this action,'z and information about the location of
                 17 responsive documents.13
                 18
                 19
                         $ See, ^ Exhs. 34, 37, 48, 69 {Ctrs. indicating production).
                 20      6
                            Id., Exh. 34 (Ltr. from Stern to Howarth dated June 24, 2004}.
                         ^ Id., Exh. S ¶¶ 6-S (Sept. 14, 2004 Zarabi Dec.}.
                 21      s
                            Td., Exh. SS (Subpoena to Stern).
                 22      9 Id., Request Nos. 1-12, 15-22.
                         1D Id., Request Nos. 13, 14, 29-32. Stern represents that it does not have
                 23
                      documents responsive to Request Nos. 30, 31 and 32. Id., Exh. 56.
                 24      " Id., Exh. SS at Request Nos. 23, 24
                 25      1z Id ,Request Nos. 25-28. Stern represents that it does not have documents
                      responsive to Request Nos. 26 and 2$. Id., Exh. S6.
                 26      '3 Id., Exh. 55 at Request Nos. 33-35. Stern represents that it does not have
                 27   documents responsive to Request No. 34 "based on [its] understanding" of the
                      request, nor to Request No. 3S. Id., Exh. 56.
                 28
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                   1                  Stern served objections on September 17, 2007 and did not agree to
                   2   I produce a single document.^4 Mattel sent Stern at least three requests to meet and
                   3    confer, as well as the Discovery Master Stipulation and the Discovery Master's May
                   4    1 S, 2007 Order requiring production of Larian v. Larian documents from MGA. is
                   S    Stern refused to meet and confer until Mattel sent a letter with arequest-by-request
                   6    analysis well beyond what the Discovery Master Stipulation and Local Rule 37-1
                   7    require.16 Mattel did send such letter in an effort to compromise.^^
                   S                  The parties conducted a conference of counsel on October 11, 2007.I8
                   9    Stern admitted that it had responsive documents in its possession, but did not agree
                  10 to produce them, relying primarily on (i} the attorney client and work product
                  11    privileges, (ii} a so-called "arbitral privilege," and {iii) the presupposition that Mattel
                  12 could obtain everything it sought from MGA, Isaac Larian or Farhad Larian.^9 Stern
                  13    cited to California Evidence Code section 703.5 as a basis for its arbitral privilege
                  14    claims.20 Mattel provided authority to Stern indicating that no "arbitral privilege"
                  15    applied to this case, but Stern still refused to produce anything.21
                  16                 Stern also asked MGA, Isaac Larian and Farhad Larian to produce the
                  17 I documents Mattel sought so that Stern would not have to.22 To Mattel's knowledge,
                  18 ^ Isaac Larian, MGA and Farhad Larian did not respond to Stern's letter.23 Stern still
                  19
                  20
                           ra
                              Id., Exh. 56 {Stern's Objs. to Subpoena dated Sep. 17, 2007).
                  21       is
                              Id., Exhs. 57, 59, 61 (Ctrs. from Alban to Goldberg).
                  22       16 Id., Exhs. 58, 60 (Ctrs. from Goldberg to Stern}.
                           17 Td., Exh. 61 {Ltr, from Alban to Goldberg dated Oct. 10, 2007}.
                  23       i8 Id. ¶ 71, Exh. 64 (Ltr.
                                                      from Alban to Goldberg dated Oct. 25, 2007}.
                  24       ' 9 Ia.
                        z° Id.
                  25    zi
                           Id., Exhs. 64 (Ltr. from Alban to Goldberg dated Oct. 2S, 2007}, 65 (Ltr.
                  26 from Goldberg to Alban dated Oct. 31, 2007}.
                        2z
                  27    z3 Id., Exh. 62 {Ltr. from Goldberg to Lever dated Oct. 12, 2007}.
                              ra. ¶ 69.
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                       1   insisted that it had no production obligations,2^ even though Mattel offered to pay
                   2 for all of Stern's copying costs if it agreed to any production.2S
                   3             C.     Mattel 's Other Discove     Efforts.
                   4                    Mattel has attempted since March 14, 2005 to obtain documents related
                   5 to the Larian v. Larian proceedings directly from MGA.26 The efforts have been
                   6 futile, and as far as Mattel can ascertain, even the Discovery Master's Order of May
                   7       15, 2007 resulted in MGA producing just four documents related to the
                   8 proceedings.27 Mattel also requested that Isaac Larian produce Larian v, Larian
                   9 documents.zg To date, Isaac Larian has not produced a single responsive document
                  10       on that or any other subject.^9 Mattel also searched public filings in Larian v. Larian
                  11       and Larian v. Zarabi et al. civil iawsuits.ao Finally, Mattel served subpoenas on third
                  12 parties involved in the Larian v. Larian proceedings pursuant to Federal Rule of

                  13       Civil Procedure 45. In addition to Stern, Mattel served subpoenas on Farhad Larian,
                  14 Mr. Zarabi and on the other attorneys Mattel identified as involved in those
                  15       proceedings.31 Some third parties Mattel subpoenaed have produced responsive
                  16 documents.32 These parties, however, claimed that they did not have in their
                  17 possession the majority of responsive documents Mattel has learned Stern has in its
                  18 ^ possession, as described in more detail below.

                  19
                  20

                  21
                  22         24 Id., Exh. 65 {Ltr. from Goldberg to Lever dated Oct. 31, 2007).
                             as
                  23            Id., Exhs. 59 (Ltr, from Alban to Goldberg dated Oct. 3, 2007).
                             zs
                                Id., Exh. 22, Request No. 41 {Mattel's First Set of RFPs to MGA).
                  24         27 Id. ¶ 3 5.
                             z8
                  25            Id., Exh. 32, Request Nos. 123-125 (RFPs to I. Larian dated June 13, 2007}.
                             29 Id. ¶ 36.
                  26         3o
                                Id. ¶ 38.
                  27
                             31 Id. ¶ 39.
                             3a
                                Id.
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                    1         D.     Stern Admittedly Possesses Responsive Documents.
                    2                From Mattel's searches of public filings, third party productions, and
                    3   Stern's own admissions, Mattel knows that Stern possesses documents highly
                    4 relevant to this action. For example:
                    5 I•      From a Protective Order to which Mr. Zarabi is not a party, among other
                    6 things, Mattel knows that Mr. Zarabi and Mr. Dutcher produced at least 2,590 pages
                    7 of documents in May and'June 2004 in response to Farhad Larian's allegations

                    8' regarding the conception and concealment of Bratz.33
                    9 •       Mr. Zarabi limited his production only in refusing to produce "2003
                   10 communications and documentation." Mr. Zarabi would not produce those in 2004
                   11   because the documents related to Mr. Zarabi's "ongoing arbitration proceedings."3a
                   12 This is a reference to the appraisal efforts in 2003 that valued MGA as of December
                   13 31, 2000, which was part of Mr. Zarabi's response to Farhad Larian's allegations
                   14 regarding the conception and concealment of Bratz.3s
                   15 •       Stern confirmed in detail what it produced to both Farhad and Isaac Larian.
                  16 This list includes numerous items Mattel has been unable to obtain through public
                  17 filings or other parties, including:
                  18          {a}   Letters from Morad's attorneys to National Business Appraisers;
                  19          {b}   Four files of Morad's "confidential reconciliations;"
                  20          (c}   Resignation of Fred Larian as Officer and Dzrector of MGA;
                  21          (d}   Packet entitled "MGA Entertainment Conf dential."
                  22          (e)   MGA Entertainment Financial Statement for Years 2001 and 2000;
                  23          (f)   ABC International Bad Debts from 1997-2000;
                  24          (g)   Certif cafe of Amendment of Articles of Incorporation of ABC;
                  25
                  26       33
                              Id., Exh. 46 (Prot. Ord. in Larian v. Larian dated Sep. 23, 2004).
                           34
                  27          Id , Exh. 34 {Ltr. from Stern to Howarth dated June 24, 2004}.
                           3s
                              Id., Exh. 5 ¶¶ 6-8 {Sept. 14, 2004 Zarabi Dec.)
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                                (h}    Fax to Daie Jaan/Fred Larian --- list of shareholders; and
                    2           {i}    Handwritten purchase offer between Fred and Isaac Larian - 10/2000.36
                    3           During the meet and confer process between Mattel and Stern, Stern admitted
                    4 ^ that it still had in its possession documents that MGA, Isaac Larian and Farhad
                    5 Larian provided to Mr. Zarabi for purposes of the appraisals conducted, as well as
                    6 Mr. Zarabi's and Mr. butcher's documents related to the appraisals.37
                    7           Stern also admits to having unique possession of the transcript of a January
                    8 23, 2003 meeting-a meeting that occurred six months after Farhad Larian first
                    9 complained to Mr. Zarabi about Isaac Larian's concealment of Bratz in 2000 and
                   10 twenty days before Mr. Dutcher released and appraisal that valued MGA "as of
                   11 December 2000" for the first time.3S It appears that Isaac and Farhad Larian, Mr.
                   12 Zarabi and an accountant participated in another recorded meeting three days later to
                   13 address Farhad Larian's allegations against Isaac Larlan.39
                  14            Mr. Dutcher sent Stern all of his files related to his appraisals, including the
                  15 2003 one that followed Farhad Larian's 's allegations about Bratz.ao
                  16            A privilege log that Stern produced to Mattel makes clear that none of the
                  17 items listed, including the tape recording of the January 23, 2003 meeting, are
                  18 attorney-client communications or attorney work product. Stern admittedly relies
                  19 on the "arbitral privilege" to withhold them.41
                  20
                  21
                  22       36
                               Id., Exh, 37 (Ltr. from Stern to Howarth dated May 21, 2004}.
                            37 Id. ¶ 70, Exhs. 63-65. (Ctrs. between Alban and Goldberg}.
                  23        3s
                               Id., Exh. 6S at 2 (Ltr. from Goldberg to Alban dated Oct. 31, 2007}.
                  24        39
                               Id., Exh. 53 at ¶ 24 (Feb. S, 2004 F. Larian Dec.}.
                            4° Id., Exh. 7 at ¶¶ 14, 16.
                  25
                            ^' Yd., Exh. 63 {Ltr. from Goldberg to Alban dated Oct. 16, 2007). Stern later
                  26    attempted to assert that a transcript of the meeting is attorney work product. Id.,
                  27    Exh. 65 at 2 (Ltr. from Goldberg to Alban dated Oct. 16, 2007}. Stern does not
                        contend the tape recording, which it claims to no longer have, is work product. Id.
                  28
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                   1                                        Argument
                   2 I.      STERN HAS AN OBLIGATION TO PRODUCE ALL DOCUMENTS
                   3         RESPONSIVE TO MATTEL'S SUBPOENA.
                   4               Federal Rule of Civil Procedure 45 obligates third parties to produce
                   5 documents responsive to a subpoena that a party serves on them. Fed. R. Civ. P.
                   6 45(b), {d). If the documents are relevant and there is good cause for their
                   7 production, the subpoena is enforced unless the documents are privileged or the
                   8 subpoena is unreasonable, oppressive, annoying, or embarrassing. U.S. v. American
                   9 Optical_ Co., 39 F.R.D. 5 80, 5 83 (N .D. Cal. 1966},• accord Heat and Control, Inc. v.
                  10 Hester Industries, Inc., 785 F.2d 1017, 1024 {Fed. Cir. 1986) ("the factors required
                  11 to be balanced by the trial court in determining the propriety of a subpoena are the
                  12 relevance of the discovery sought, the requesting party's need, and the potential
                  13 hardship to the party subject to the subpoena."}.
                  14         A.    The Documents Mattel Seeks Are Relevant And There Is Good
                  15               Cause For Their Production.
                  16               1.     The Larian v. Larian Disputes Are Relevant.
                  17               As the Discovery Master already ruled, the Larian v. Larian
                  18 proceedings related to the conception of Bratz and are thus relevant to this action.az
                  19 The discovery Mattel has obtained from other sources conf rms the importance of
                  20 those proceedings to this case and that Stern possesses highly relevant documents.
                  21 For example, Mr. Zarabi, through Stern, produced documents responsive to Farhad
                  22 Larian's requests related to the origins of Bratz, MGA's 2000 and 2001 financial
                  23 statements and Mr. Zarabi ' s "reconciliations" related to Mr. Dutcher' s appraisals of
                  24 MGA.43 The limited information Mattel has about the appraisals indicate that, in
                  25
                  26    az Id., Exh. 19 at 10
                                              - 11 (Ord. dated May 15, 2007).
                        43 Id.,
                                Exhs. 33 (F. Larian Subpoena on M. Zarabi dated Sep. 19, 2003 ), 37 {Ltr,
                  27
                     from Stern to Howarth dated May 21, 2004).
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                        2000, a "hot product" in development justif ed a f ve-fold increase in the projected
                    2 ^ rate of revenue growth for 2001, and that MGA's fmancial statements indicate
                    3 expansionary plans in 2000 unprecedented in the prior four years, including taking
                    4 on a relatively short-term loan about one hundred times greater than the prior four
                    5 years combined.44 Mattel also knows that Mr. Dutcher conducted the 2003 appraisal
                    6 as part of Mr. Zarabi's response to Farhad Larian's allegations about development of
                    7. Bratz in 2000.45 Stern may be the only party in possession of the documents that
                    8 explain the appraiser's exponential growth projection based on a "hot product,"
                    9 because Stern refused to produce to at least Farhad Larian the "2003
                   10 communications and documentation."46 Stern also appears to be in possession of
                   11 documents Mr. Zarabi gathered from MGA and Isaac Larian in response to Farhad
                   12 Larian's allegations about Bratz.47 Such documentation appears to include, for
                   13 example, financial models that Isaac Larian performed forecasting revenue streams
                   14 for each item MGA sold or was planning to se11.4S There can be little doubt that this
                   15 information is directly pertinent to early Bratz and the timing of MGA's
                   16 involvement with Bryant and with Bratz.
                   17                2.     Mattel's and MGA's Allegations Are Relevant.
                   18                Stern also did not offer to produce any documents responsive to
                   19 requests that address non-Bratz contentions in this action.49 For example, Mattel
                   20 asked Stern to produce documents relating to payments or offers of payment by
                   21
                   22      44
                               Id., Exhs. 7 at Exh. C, ¶^ 14-1 S {Jan. 9, 2005 Dutcher Dec.}; 8 at 18:14- i 9:12
                        (Tr. of Audiotaped Mtg. wl E. Dutcher dated Sep. 10, 2003).
                   23      45
                               Id., Exh. 5 at ¶ 7 (Sept. 14, 2004 Zarabi Dec.).
                   24      46
                               Id., Exh. 34 at 3. Stern admits to producing some 2003 documents to Farhad
                        and Isaac Larian. Id., Exh. 63 (Ltr. from Goldberg to Alban dated Oct. 16.2007).
                   25
                           47 Id., Exh. 5 at ¶ 7 (Sept. 14, 2004 Zarabi Dec.).
                   26      4s
                               Id., Exh. 39 (Ltr. from Howarth to Kaye Scholer dated Apr. 6, 2004}.
                           49 Id., Exhs. 55,
                                               56 (Mattel's RFPs and Stern's Objs.}. Request Nos. 13, 14 and
                   27
                        29 are at issue.
                   28
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                    i MGA, Isaac Larian or Farhad Larian to any person who was at the time employed
                    2 by Mattel, and contracts of employment for such persons.s0 Mattel alleges that
                    3 MGA stole trade secrets from Mattel in part by paying Mattel employees to go work
                    4 for MGA and bring in Mattel trade secrets in the process.51 The Request could not
                    5 be more relevant. MGA also has contended that Bryant's work for MGA in 2000
                    6 while he was employed by Mattel related to "Prayer Angel," thus putting that
                    7 product at issue.sa
                    8                3.     Documents About Farhad Larian ' s Relationship With MGA
                    9                       Are Relevant As To His„Credibility.
                   10                Given Farhad Larian's long role as shareholder of MGA and his
                   11   subsequent Bratz-related disputes with Isaac Larian, he is also a crucial witness in
                   12 this action. Stern refuses to produce any documents responsive to questions going
                   13 to MGA's or Isaac Larian's payments to^ Farhad Larian, including related to Bratz.s3
                   14                Information is relevant and discoverable if it relates to "the credibility
                   15 of any witness." Cable & Com uter Technolo              Inc. v. Lockheed Sanders Inc.,
                   16   175 F.R.D. 646, 650 (C.D. Cal. 1997). Evidence of bias is also relevant and
                   17 discoverable. United States y. Abel, 469 U.S. 45, 50-51 {19$4}; see also Wright &
                   18 Miller, Federal Practice & Procedure: Federal Rules of Evidence § 6095 {bias is a
                   19 "particularly favored basis for attacking credibility," and "circumstantial evidence of
                   20 bias" may include evidence of the "payment of bribes or fees"}. The Discovery
                   21 Master has already ruled that payments from MGA to Farhad Larian are relevant to
                   22 this action and discoverable.54 Similarly, the Discovery Master has ordered MGA to
                   23
                   24    so Id. at Request No. 29.

                   25    s' Id., Exh. 18 at ¶^ 37-77 (Mattel's Second Am. Answer}.
                         s2
                            Id., Exhs. 66 at 243:15-246 : 14 (Depo. Tr. of Paula Garcia , Vol. 1, May 24,
                   26 2004); 55 and 56 at Request Nos. 13, 14 {Mattel ' s RFPs to Stern's Objs.).
                         s3
                   27       Id , Exhs. 55, 56 at Request Nos. 23, 24 (Mattel's RFPs and Stern ' s Objs.).
                         sa Id., Exh. 45 at 10-
                                                12 (Sep. 25, 2007 Ord.).
                   2$
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                         produce documents related to MGA's transfers of money or other things of value to
                     2 other witnesses in this action such as Carter Bryant because they go to his credibility
                     3 or bias.ss If Stern has any purported privacy concerns with respect to such
                     4 documents-even assuming it has standing to assert them-the Protective Order in
                     5 this action expressly allows him to designate documents as "Conf dential" or
                     6 "Confidential -Attorney's Eyes Only.r56 The Discovery Master has ruled more than
                     7 once that the Protective Order adequately addresses privacy concerns, including
                     S with respect payments of money from MGA to witnesses.s'
                     9                4.     Farhad Larian's Communications With Mattel Are Relevant.
                    10                Stern also refused to produce any documents relating Farhad Larian's
                   11    communications with Mattel and documents exchanged between him and Mattel.58
                   12 The request is relevant. First, a witness's knowledge about matters in the case are
                   13 relevant. Second, MGA and Isaac Larian themselves put these requests at issue by
                   14 threatening to disqualify Quinn Emanuel from representing Mattel in this action
                   15^ based on purported communications Quinn Emanuel had with Farhad Larian when
                   16 he was involved in proceedings against Isaac Larian.5g These documents, along
                   17 with the documents Farhad Larian's counsel showed Quinn Emanuel at the time, are
                   1S directly relevant to not only this litigation, but to countering that baseless
                   19 disqualification claim.
                   20                 5.     The Location Qf Res onsive Documents Ys Relevant.
                   21                 Finally, Mattel has a right to know the whereabouts of responsive
                   22 documents, including if Stern destroyed them or for another reason no longer has
                   23 them. In this respect, Mattel seeks information about retention of documents that at
                   24
                           ss
                   25         Id., Exh. 19 at 10 (May 15, 2007 Ord.}.
                           5^
                              Id., Exh. 42 at ¶ 3 (Jan. 4, 2005 Stip. and Protective Ord.}.
                   26      s7
                              Id., Exhs. 19 at 11, n.4 (May 15, 2007 Ord.); 44 at i3-15 (Jan. 25, 2007 Ord.).
                           58 Id., Exhs. 55, 56 (Mattel's RFPs and Stern's Objs.). No. 27 is at issue.
                   27      sa
                                Id., Exh. 43 (Ltr. from Glaser to Quinn dated July S, 2007)
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                       1   least at one point, if not now, were indisputably in existence and in Stern's
                    2 possession .bQ Notably, Stern at one point advised Mr. Dutcher to destroy drafts of
                    3 his appraisals even after Farhad Larian had subpoenaed Mr. Dutcher for the
                   4 documents.61 Mattel also seeks an image of Farhad Larian's computer hard drives
                    5 for a crucial time period-January 1, 1999 to December 31, 2002.62 The Discovery
                   6 Master has previously ordered production of Bryant's hard drive images given the
                   7 likely relevant information contained therein.63
                   8               B.    Mattel's Re uests Are Not Unreasonable O ressive Anno in or
                   9                     Embarrassing.
                  10                      "The burden of showing that a subpoena is unreasonable and
                  11       oppressive is upon the party to whom it is directed." Goodman v. U.S., 369 F.2d
                  12       166, 169 {9th Cir. 1966); Flatow v. The Islamic Republic of Iran, 202 F.R.D. 35, 36
                  13 {D.D.C. 2001}; Northro Co . v. McDonnell Dou las Co ., 751 F.2d 395, 403
                  14 {D.C. Cir. 19$4}. Here, Stern does no more than assert repetitive, boiler plate
                  15 burden objections , irrespective of the substance of the document request.
                  16                     Mattel also offered to pay for Stern's copying costs,^4 further belying
                  17 any claim of burden. That Stern presumably already has separate case f les - as law
                  18 firms tend to have -^ containing all or the vast majority of responsive documents,
                  19 further illustrates the lack of merit of Stern's burden objections. Even if Mattel had
                  20 not offered to pay for copying costs, and even if Stern did not already have
                  21       separated case files, a claim that compliance with Mattel' s request "would
                  22 necessitate the examination of large quantities of documents , requiring a great deal
                  23 of time and expense ... is not alone a suff dent reason for refusing discovery which
                  24
                              6o
                  25             Id., Exhs. 55, 56 {Mattel's RFPs and Stern's Objs.). No. 34 is at issue.
                              6' Id., Exh. 7 at ¶¶ 15-16 (Jan. 9, 2005 Dutcher Dec.}.
                  26          62
                                 Id., Exhs. 55, 56 at Request No. 33 (Mattel's RFPs and Stern's Objs.).
                              63
                  27             Id., Exh. 44 (Jan. 25, 2007 Ord.).
                              64
                                   Id. ^ Exh. 61 (Ltr. from Alban to Goldberg dated Oct. 10, 2007}.
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                    1 (is otherwise appropriate ...." .American Optical Co., 39 F.R.D. at 586-587
                    2 (documents sought covered a twelve year period).
                    3               Stern's burden objections stem primarily from its insistence that Mattel
                    4 has to obtain the documents from Isaac Larian or MGA.65 Stern's position not only
                    5 ^ wholly ignores Mattel's unsuccessful efforts to date to obtain documents from Isaac
                    6 Larian and MGA,66 but is also contrary to federal law. "[A] person may not avoid a
                    7 ^ subpoena by saying that the evidence sought from him is obtainable from another."
                        State Farm Mut. Auto. Ins. Co, v. Accurate Medical P.C., 2007 WL 2993840, at * 1
                    9 (E.D.N.Y. 2007) (quoting Covey Oil Co. v. Continental Oil Co., 340 F.2d 993, 998
                   10 (10th Cir. 1965}); see also In re Ber ems, 112 F.R.D. 692, 695 (D. Mont. 1986}
                   11   (conclusory assertions that documents sought are available from others more
                   12 economically "does not constitute a showing of unreasonableness or
                   13 oppressiveness."); Plant Genetic Systems, N.V. v. Northrup King Co., Inc., 6 F.
                   14 Supp. 2d 859, 86i-862 (E.D. Mo. 199$) (third party subpoena proper where
                   1S information sought pertained to a central issue in the underlying claim, it was not
                   16 burdensome in light of plaintiff s diligent efforts to obtain the information from
                   17 defendant, and the nonparty had signed protective order prohibiting disclosed
                   18 information from being seen by plaintiffs counsel or nonparty's competitors).
                   19 Stern's position also ignores its own admission that it uniquely possesses documents,
                  20 including at a minimum a transcript of a January 23, 2003 meeting Mr. Zarabi
                  21 participated in while responding to Farhad Larian's 2002 allegations about Bratz.67
                  22 MGA's and Isaac Larian's extraordinary efforts to thwart discovery related to the
                  23 Larian v. Larian proceedings leaves no doubt that Mattel is entitled to discovery
                  24
                  25
                  26       65 Id ^ Exh 6S {Ltr. from Goldberg to Alban dated Oct. 31, 2007}.
                           66 Id. ¶¶ 35, 36, Exhs. 22 (RFPs to MGA), 32 (RFPs to I. Larian).
                  27
                           67 Id., Exh. 61 {Ltr. from Alban to Goldberg dated Oct. 10, 2007).
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                       1   from the full array of those involved in those proceedings. The discovery is
                    2 necessary to ensure that Mattel gets a complete production of responsive documents.
                    3                   Plant Genetic S.. s^ is also instructive with respect to Stern's
                    4 objections based on MGA's, Isaac Larian's or Farhad Larian's confidential or private
                    S information.6$ As was the case in Plant Genetic S.. sus, and consistent with the
                    6 Discovery Master's prior rulings in this case, Stern can use the Protective Order in
                    7' this action to protect information it properly designates as "Confidential" or
                    8 "Confidential -- Attorneys Eyes Only."
                    9                  Finally, Stern objects to two Requests about witnesses with knowledge
                   10 about the conception and development of Bratz on the grounds that the requests
                   I1      "may" call for employment records, for which California Code of Civil Procedure §
                  I2       1985.6 purportedly requires prior notice here.69 This is a federal question case, and
                  13 Stern has made no showing as to why a California procedural statute applies here.
                  14 Even if it did, Stern makes no showing that documents in its possession are
                  IS "employments records," and indeed only speculates that they "may." Notably, the
                  16 Requests ask for documents "related to Bratz," not to anyone's employment.^° Also,
                  17 the California statute def nes "employment records " as documents "maintained by
                  18 the current or former employer ." Cal Code Civ . P. § 1985.6. Stern is not the current
                  19 or former employer of these witnesses.
                  20 II.         STERN' S PRIVILEGE OBJECTIONS HAVE NO MERIT
                  21                   Stern asserts attorney-client, work product and "arbitral" privileges.'
                  22 Because this case is in federal court based on questions of federal law, federal
                  23 common law of privilege applies. Fed. R. Evid. 501, U.S. v. Zolin, 491 U.S. 554,
                  24 562 (1989}; Admiral Ins. Co. v. U.S. Dist. Court for Dist, of Arizona, 88I F.2d
                  2S         6s
                                Id., Exh. 56 at Req. Nos. 9-14, 17, 18, 19, 21, 22, 23, 24, 29 (Stern's Objs.).
                  26         69
                                Id. at Request Nos. $, 15.
                  27         7° Id., Exh. 55 (Mattel's Subpoena), Request Nos. 8, 15.

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                    1   1486, 1492 {9th Cir. 1989); Garrett v. City and County„of San Francisco, 818 F.2d
                    2 ^,^ I S 15, 1519 n. 6 (9th Cir. 1987).
                    3          A.     Mr. Zarabi and Stern„ Have No " Arbitral Immunity or Privilege."
                    4                 Stern admits that its claim of "arbitral privilege" stems only from any
                    5 privilege claim its client, Mr. Zarabi , may have.72 Mr. Zarabi has no such privilege
                    6 here. First, federal common law of "arbitral privilege " applies only to proceedings
                    7 where a party to an arbitration -Isaac Larian or Farhad Larian^hallenge the
                    8 arbitrator' s decisions in some way . Matter of Andros Compania Maritimat .,,S.A.
                    9 (Marc Rich &.,Co., A.G.}, 5'79 F.2d 691, 702 {2nd Cir. 1978}. Mattel only seeks
                   10 documents related to the so-called arbitration proceedings and does not challenge
                   11 Mr. Zarabi' s decisions. Second, Mr . Zarabi did not even arbitrate Farhad Larian's
                   12 allegations about the development of Bratz in 2000 ,73 Third, Mr. Zarabi long-ago
                  13 waived any claim of arbitral privilege he may have had at one time, even assuming
                  14 such a privilege still applied in this case.'
                  15                  1.     Any "Axbitral Privilege" Morad Zarabi May Have Had At
                  1b                         one Time Has No Anulication Here.
                  17                  "Inasmuch as testimonial exclusionary rules and privileges contravene
                  18 the fundamental principle that the public has a right to every man's evidence, any
                  19 such privilege must be strictly construed." University of Pennsylvania v. E.E.O.C.,
                  20    110 S.Ct. 577, 582, 493 U.S. i82, 189 107 L.Ed.2d 57 (1990) (citations omitted);
                  21    see also Memorial Hos .for McHe         Count v. Shadur, 664 F.2d 1058, 1061 (7th
                  22 Cir. 1981} {"because evidentiary privileges operate to exclude relevant evidence and
                  23 thereby block the judicial fact-finding function, they are not favored and, where
                  24 recognized, must be narrowly construed."). Accordingly, only anarrowly-tailored
                  25
                          '1 Id., Exh. 65 (Ltr. from Goldberg to Alban dated Oct. 31, 2007).
                  26      ^2
                             Id. at 3-4.
                          73
                  27         Id., Exh. 11 {Ltr. from Zarabi to F. and I. Larian dated Feb. 8, 2005).

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                       "arbitral privilege" has developed in federal common law.75 The privilege applies
                   2 only to proceedings in which a party to an arbitration later challenges the arbitrator's
                       decisions in federal court. Andros, 579 F.2d at 702. In Andros, the Second Circuit
                   4 started its analysis of arbitral privilege with the premise that "the discovery
                       procedures of the Federal Rules of Civil Procedure are generally applicable to Title
                   6 9 proceedings." Id.76 The Court then held that, "in the special context of what are
                   7 in effect post hoc efforts to induce arbitrators to undermine the finality of their
                   8 own awards, ...any questioning of arbitrators should be handled pursuant to
                   9 judicial supervision ...." Id. {emphases added}.'^
                  10                Ninth Circuit courts have adopted the "arbitral privilege" as delineated
                  11   in Andros, and nothing broader. See, ^ Woods v. Saturn Distribution Corp., 78
                  12
                           74
                                Id., Exhs. 37, 48, 63 (Ctrs. indicating production of privileged docs,)
                  13       7s
                               Because federal common law of privilege applies here, Stern's apparent
                  14   reliance on California Evidence Code § 703,5 (id. ¶ 70) is misguided. No provision
                       in either the Federal Arbitration Act, the Federal Rules of Evidence or federal case
                  15
                       law is comparable to § 703.x.
                  16       76 Title 9 is a reference to the Federal Arbitration Act.
                           " See also Lyeth v. Chr r^sl.er Corp., 929 F.2d 891, 900 (2nd Cir. 1991) ("To the
                  17
                       extent that Chrysler's request to depose the individual arbitrator was aimed at
                  18   contesting Lyeth's Lemon Law award, the district court properly denied discovery
                       ...") (citing Andros) (emphases added); Frere v. 4rthofix, Inc., 2000 WL 1789641,
                  19
                       at *5 (S.D.N.Y. 2000) {"As is evident both from Andros and from subsequent court
                  20   decisions ... the arbitral privilege] applies only to discovery inquiries directed at
                       the arbitrator and only when the goaC is to impugn the validity of the arbitrator's
                  21
                       decision ."} (emphasis added}; National Hocke Lea ue Pla ers' Assn v. Bettman,
                  22   1994 WL 38130, at *2, *6-7 (S.D.N.Y. 1994) ("As for the so-called arbitral
                       immunity ...the federal courts have developed two related rules governing the
                  23
                       status of arbitrators in the context of litigation challenging the results of an
                  24   arbitration ...First, arbitrators are immune from personal-damage liability for their
                  25   decisions ...Second ... in actions addressing the results of an arbitration
                       whether it be a proceeding to enforce or to set aside an arbitrator 's award-the
                  26   court is to exercise close supervision over the extent and nature of discovery,
                  27   although the discovery rules are, at least in principle, applicable to such a
                       proceeding."} (emphases added}.
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                       F. 3d 424, 430 {9th Cir. 1996} ("The Federal Rules of Civil Procedure do not apply
                   2 to'post hoc' questioning of arbitrators in Title 9 proceedings and `any questioning of
                   3 arbitrators should be handled pursuant to judicial supervision ...."'} (quoting
                   4 Andros). In Woods, the party seeking discovery was expressly challenging a prior
                   5 arbitration decision. Id. Accord Thomas Kinkade Co. y. Hazlewood, 2007 WL
                   6 217384, *2--4 {N.D. Cal. 2007) (allowing only limited discovery in the context of a
                   7 challenge to the arbitration); Em resa Constructora Contex Limitada v. Iseki Inc.,
                   8   106 F.Supp. 2d 1020, 1024-1025 {S.D. Cal. 2000); Corsini v. Prudential Securities,
                   9 Inc., 1995 WL 663174, at *2 (S.D. Cal. 1995}; Portland General Elec. Co. v. U.S.
                  10^ Bank Trust Nat. Assn, 38 F.Supp. 2d 1202, 120$-1210 (D. Or. 1999) (reversed on
                  ii other grounds). In each of these district court cases, an arbitrator's right to withhold
                  1 2 discovery was limited to the context of subsequent proceedings challenging the
                  1 3 arbitral award in some way. Here, Mattel in no way challenges any decisions Mr.
                  14 Zarabi made, even if he had actually rendered a decision in 2003.78
                  15                The reason why federal courts adopted an "arbitral privilege" in the
                  16 first place further clarifies the lack of merit of Stern's claim of arbitral privilege.
                  17 Courts have justified deviating from the liberal discovery standards of the Federal
                  18 Rules of Civil Procedure in proceedings challenging arbitrators' decisions in order to
                  19 protect the eff ciencies of arbitration. See, e.g_, 4,R. Securities, ,Inc. y. Professional
                  20
                          7s
                               After Farhad Larian asked Mr. Zarabi to disqualify himself as an arbitrator,
                  21
                       Mx. Zarabi voluntarily withdrew himself Alban Dec., Exhs. 11 (Ltr. from Zarabi to
                  22   F, and I. Larian dated Feb. 8, 2005), 60 {Ltr. from Goldberg to Alban dated Oct. $,
                       2007). He rendered no decision despite Isaac Larian's attempt to demand for one.
                  23
                       Id., Eris. 67 (Ltr. Klevens to Stern dated Sep. 25, 2003), 68 (Ltr. from Stern to
                  24   Klevens, Howarth dated Oct. 1, 2003). Thus, his 2003 deliberations on Farhad
                  25   Larian's allegations were not even ultimately those of an arbitrator. By Stern's own
                       admission, the only reason it initially withheld "2003 communications and
                  26   documentation" from Farhad and Isaac Larian was that Mr. Zarabi "may be called
                  27   upon to arbitrate the matter." Id., Exh. 68 at 2. He was never so called, so Stern's
                       prior basis is now irrelevant, even assuming it in theory applied in this case.
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                    1 Planning Associates, Inc., 857 F,2d 742, 747-74$ { 11th Cir. 1988) (justifying denial
                    2 of discovery in matter challenging arbitration award in order to protect the
                    3 "summary" and "expeditious" nature of arbitrations); Hunt v. Mobil Oil Corp. 654
                    4 F.Supp. 1487, 1495-1496 (S.D.N.Y. 1987} ("discovery process would negate the
                    5 concept of arbitration as a relatively quick means of dispute resolution and would
                    6^ only protract and delay the termination of the arbitration proceeding."}; National
                    7I Hocke y_ Lea ue Players Assoc'n, 1994 WL 38130 at *2 {citing Hunt). Here, any
                    8 decisions Mr. Zarabi may have made as an "arbitrator" were long-ago finalized, and
                   9 Mattel in no way seeks to re-open or otherwise delay any such arbitration process.
                  10                 Stern goes as far to claim that the arbitral privilege applies to
                  11     documents that MGA, Farhad or Isaac Larian "supplied" to Mr. Zarabi for use in his
                  12 deliberations, not just to anything Mr. Zarabi created.^g Even under California's
                  13 broader protections of an arbitrator's deliberations, such protection does not apply to
                  14 "raw data" on which an arbitrator relies to make his decisions. Cf. Ro'as v. Su erior
                  15 Court,_33 Cal. 4th 407, 417 {2004) ("raw data" given to a mediator not privileged).
                  16 A rule to the contrary would mean that a party could cloak a document that was
                  17 'never privileged with an "arbitral privilege" merely by handing it to an arbitrator.
                  18                 There is also no contractual based "arbitral privilege" here. The
                  19 "arbitration agreements" between Isaac Larian and Farhad Larian, in which they
                  20 agreed to have Mr. Zarabi attempt to resolve their disputes, notably contain no
                  21 provision for confidentiality.$0
                  22
                  23'^
                  24
                  25
                  26    79 Id., Exh. 56 at Request Nos. 16-20, 22-24, 29 (Stern Objs.}.
                        8° Id., Exhs. 3 (Agr. to Arb. dated Sep. 28, 2000}; 6 at ¶¶ 8-10 (Agr. for Sale of
                  27
                     Stock dated Dec. 4, 2000).
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                    1                2.     Even If An Arbitral Privilelse Applied Here, Mr. Zarabi
                    2                       Waived It At Least As Earl As Ma 2004.
                    3                The case law above makes clear that the "arbitral privilege" under
                    4 federal common law protects the confidentiality of an arbitrator's deliberations from
                    S ^^ the parties to the arbitration . If the arbitrator shares documents related to his
                    6 deliberations with the parties, he waives the privilege. See, ems., Hartford Fire fns.
                    7 Co.v_. -Garvey, 109 F.R.D. 323, 327 (N.D. Cal. 1985} {voluntary disclosure
                    8 inconsistent with confidential nature of attorney client relationship waives attorney
                    9 client privilege); Marshall v. U.S. Postal Service, 88 F.R.D. 348, 380 (D.D.C. 1980}
                   10 ("Once a party begins to disclose any confidential communication ..., the privilege
                   11   is lost for all communications relating to the same matter.") (quoting SEC v. Dresser
                  12 Industries, Inc., 483 F.Supp. 573, 576 (D.D.C. 1978). The rationale for why
                  13 selective disclosure constitutes a broader waiver is that a party cannot selectively
                  14 choose which privileged responsive documents to produce and which ones to
                  1S withhold: Id. at 380 (citing Burlington Industries v. Exxon,Corp., 6S F.R.D. 26, 26
                  16 (D. Md. 1974).
                  17^               There can be no dispute Mr. Zarabi long-ago waived any claim of
                  18 arbitral privilege under these standards. Mr. Zarabi produced documents responsive
                  19 to Farhad Larian's document production requests, limited only by 2003
                  20 communications and documentation.g' Mr. Zarabi confirmed precisely what
                  21 f documents he would produce on May 2 i, 2004; the list includes documents related
                  22 to Mr. Zarabi's and his appraiser's deliberations, such as Mr. Zarabi's "Conf dential
                  23
                  24
                  2S
                  26       g' id., Exh. 3 S (Ltr. from Howarth to Stern dated June 8, 2004}.
                  27
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                                                                ,,. _„
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                       Reconciliations."$z By Stern's awn admission, Mr. Zarabi's document production
                   2 ^ also included selective disclosure of 2003 communications and documents.83
                   3                Nevertheless, Stern now attempts to improperly resuscitate the
                   4 privilege. Even if the Discovery Master found that an arbitral privilege plausibly
                   5 exists here, which it does not, the Discovery Master should not allow Stern to
                   6 selectively decide what documents to withhold from Mattel and which ones to allow
                   7 Mattel to see (as long as Mattel can get them from someone else). Stern also is
                   8 withholding documents it uniquely possesses.$4
                   9                Stern's efforts to thwart its Rule 45 obligations are particularly
                  10 troubling in light of its apparent attempt to coordinate any agreement to produce
                  11 with Isaac Larian and MGA (who have only obstructed production of Larian y.
                  12 Larian documents).85 Stern also improperly attempted to thwart Farhad Larian's
                  13 discovery in the Larian v. Larian proceedings, including by misrepresenting to
                  14 Farhad Larian about what they possessed and by improperly instructing Mr. Dutcher
                  15 to destroy documents responsive to a subpoena Farhad Larian served on him.86 Of
                  16 course, Mr. Zarabi's family ties to Isaac Larian are also a concern.
                  17                The Discovery Master should compel production of all responsive
                  18 documents from Stern, including all "2003 proceeding" documents.
                  19
                  20
                  21
                  22      8z
                              Id., Exh. 37 (Ltr. from Stern to Howarth dated May 21, 2004); see also id.,
                       Exh. 48 (Ltr. from Stern to Howarth dated July 14, 2004).
                  23      g3
                              Id., Exhs. 63 (Ltr. from Goldberg to Alban dated Oct. 16, 2007}, 69 {Ltr.
                  24   from Kremer to Stern dated Dec. 8, 2004}.
                          84 Id., Exhs. 34 (Ltr. from Stern to Howarth dated June 24, 2004), 65 at 2 {I,tr.
                  25
                       from Goldberg to Alban dated Oct. 31, 2007).
                  26      ss
                              Id., Exh. 65 at 4 (suggesting any further conference include MGA and Isaac
                       Larian's attorneys).
                  27      a6
                              Id., Exhs. 7 at ¶¶ 14^ 16 (Jan. 9, 2005 Dutcher Dec.).
                  2$
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                    1        B.     The Discoyer_y Master Should Compel , Stern To Produce A
                   2                Privilege Loy For Attorney Client^and Work Product Claims
                   3                Mattel does not have an issue at this juncture with Stern withholding
                   4 documents that are legitimately attorney-client communications or attorney work
                   5 product. However, Stern produced a privilege Iog only with documents that it
                   6 admits ^it is withholding only because of a so-called "arbitral privilege."^^ For
                   7 claims of attorney-client or work product privileges, Stern has only identified
                   8' withheld documents with two conclusory statements:
                   9         {I) "Communications between our office and Morad Zarabi with
                  i0         respect to his role as arbitrator in the arbitration between Isaac Larian
                  11         and Farhad Larian; and (2) Internal file memorandum which Stern &
                  12         Goldberg may have prepared in connection with its involvement in the
                  13         representation of Morad Zarabi, such as, a memo to the file based on a
                  14         conversation, such as I had with counsel from Quinn Emanuel.i88
                  15                Such broad statements do not give Mattel suff dent information to
                  16 evaluate Stern's claims of privilege, as Rule 45{d)(2} requires. For example, Stern
                  17 provides no information that none of the documents under category (1}included
                  1$ other recipients-such as Isaac Larian or Farhad Larian that would constitute
                  I9 waiver of privilege. A separate letter from Stern also points to an improperly
                  20 withheld transcript of a critical meeting involving Farhad Larian's 2002 allegations,
                  21 based on purported "work product."89 A word-for-word transcript of a meeting that
                  22 is not itself work product (Stern does not contend the meeting itself, or a tape
                  23 recording of the meeting, are work product) does not magically become work
                  24 product because an attorney requested the transcript. But that is apparently Stern's
                  25
                  26     87 Id., Exh. 65 at 3, ¶ 3.
                  27        Id Exh. 62 {Ltr. from Goldberg to Lever dated Oct. 12, 2007}.
                         sg
                             Id., Exh. 65 at 2 {Ltr. from Goldberg to Alban dated Oct. 31, 2007}.
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                        latest basis for withholding the transcript.9° Further, this transcript relates to Mr.
                        Zarabi's 2003 work, any protection for which Mr. Zarabi waived by selectively
                        disclosing some related information to Isaac and Farhad Larian.9^ That Stern now
                        claims this transcript as work product exemplifies the deficiency of its one-sentence
                        description of withheld "work product"-the list in no way would have alerted
                        Mattel or the Court to the fact that Stern was withholding this transcript. Mattel
                    7 only knows from a separate letter. There is no telling what else Stern improperly
                    8 claims as "attorney-client privilege" or "work product," in violation of Mattel's
                    9 rights under Rule 45(d}(2}.
                   10                The Discovery Master should compel Stern to produce adocument-by-
                   11   document privilege log. Gail v. New En land Gas Co. Inc., 243 F.R.D. 28, 33 (D.
                   12 R.I. 2007} ("universally accepted" means of claiming that requested documents are
                   13 privileged is the production of a privilege log; discussing requirement for Rule 45
                   14 and requiring adocument-by-document log); Martinez v. City, of Fresno, 2006 WL
                  15 3762050, at *6 (E.D. Cal. 2006) {over-generalized descriptions that fail to
                  16 adequately identify specif c documents are insufficient in a privilege log}. Mattel's
                  17 attempt to enforce its Rule 45 right to challenge Stern's claims of privilege is not
                  18 "harassment," as Stern attempts to portray it.92 To the contrary, Stern has waived its
                  19 claims of privilege by its failure and refusal to provide Mattel an adequate privilege
                  20. log. In re Im erial Co . Of America, 174 F.R.D. 475, 477 (S.D. Cal. 1997}.
                  2I                                          Conclusion
                  22                 For the foregoing reasons, Mattel respectfully requests that the
                  23 Discovery Master grant Mattel's motion and compel Stern to produce documents
                  24
                          9o
                  25        Id.
                        g 1 The meeting may have in fact been in the presence of Isaac and Farhad
                  26 Larian, in which case there is no privilege. Id., Exh. 53 ¶ 24 (Farhad Larian
                  27 describes
                        sa
                                a January 26, 2003 tape-recorded meeting}.
                               Id., Exh. 65 at 3, ¶ 2 (Ltr. from Goldberg to Alban dated Oct. 31, 2007}.
                  28
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                            I responsive to every request in Matters subpoena; overrule Stern's objections other
                         2 than assertions ofattorney-client and work product privileges; and order Stern to
                         3 produce a privilege log for each privileged document withheld.
                         4
                         5 DATED : December 6, 2007               UINN EMANUEL URQUHART 4LIVER &
                                                                 ^DGES, LLP
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                         7                                                 , ^^4, •^
                                                                  By
                         8                                             Jo D. Corey
                                                                       A orney for Mattel, Inc.
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